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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 HUAWEI TECHNOLOGIES CO. LTD.,                  §
                                                §
               Plaintiff,                       §
                                                §
.v.                                             § Case No. 2:16-cv-52-JRG-RSP
                                                § Case No. 2:16-cv-55-JRG-RSP
 T-MOBILE US, INC. & T-MOBILE USA,              § Case No. 2:16-cv-56-JRG-RSP
 INC.,                                          § Case No. 2:16-cv-57-JRG-RSP
                                                §
               Defendants.                      §

                                            ORDER

         The Court ORDERS any Response to Huawei Technologies’s Motion for Clarification

 (Dkt. No. 35) of the Court’s June 14, 2016 Order (Dkt. No. 34) be filed by no later than June 23,

 2016. The Court further ORDERS any Reply to that Response be filed by no later than June 28,

 2016.
         SIGNED this 3rd day of January, 2012.
         SIGNED this 16th day of June, 2016.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
